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                                           Rescue - Rehabilitation                           Release - Education



                                          TREEHOUSE WILDLIFE CENTER
                                       HOME        ABOUT US       THE CENTER        EDUCATION        GET INVOLVED         DONATE




                                                       Permanent Residents
                              Meet our wildlife ambassadors! All of our permanent resident birds and mammals are
                              native rescues who were injured in a way that prevented them from being able to return
                              to the wild. Scroll over the pictures to learn more about our resident wildlife!


                                                                           Avian




                                                                                             Zuni

                                                            "Zuni" the Coyote was admitted in the spring of 2011 as an orphan. She was
                                                         already human socialized by the time she came to our center and so could not be
                 Spuds                  Hope                     Mac                         Ozzyinto the wild.
                                                                                   released back                          Emrys            Unnamed Bal…

                                                                 Zuni is available for Sponsorship through our Guardian Program.




                 Bandit                 Julien                 Cirrus                     Hershey                       Luke                  Socks




                 Maorga                 River                  Aspen                 Millie a.k.a. Mi…                  Blue               Unnamed Kes…




https://www.treehousewildlifecenter.com/resident-animals?lightbox=dataItem-ivvnje892                                                                      1/3
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              Isaac Newton              Karion                   Igor              Einstein                 Ed        Penelope




                 Stevie                 Howie                Owlbert                   Cole                 Jack        Heady




                  Chili                Kasper                    Leia            BoBo-NoBo                 Ingram




                                                                        Mammals




                          Dorian                         Utah                                 Moxie                 Vixey




                           Nyx                           Rizzo                             Apache                   Mama




                           Zuni                         Murray                         Murray II (Jabba)




                                                          Reptiles & Amphibians




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                       Sandy                            Pepper                               Bubbles                                   Tucker




                       Marti                            Houdini                              Stanley                                  Van Gogh




                       Slinky                           Hazel                                Noodle                                Green Tree Frogs




             Our Number:            Our Address:
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